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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE: GOOGLE DIGITAL ADVERTISING                                        21-md-3010 (PKC)
ANTITRUST LITIGATION

                                                                                ORDER

                                                                    THIS ORDER APPLIES TO:

                                                                    SPX Total Body Fitness LLC,
                                                                    et al. v. Google LLC, 21-cv-
                                                                    6870, and SkinnySchool LLC
                                                                    v. Google LLC, 21-cv-7045
-----------------------------------------------------------x
CASTEL, Senior District Judge:

                 In an Opinion and Order of March 1, 2024, the Court dismissed the claims

of the plaintiffs in SPX Total Body Fitness LLC, et al. v. Google LLC, 21-cv-6870 and

SkinnySchool LLC v. Google LLC, 21-cv-7045. (ECF 701.) A judgment was entered on

behalf of defendants on March 4, 2024. (ECF 705.) Thereafter, Notices of Appeal were

filed on April 3, 2024. (ECF 745 & 746.)

                 Nearly a month later, plaintiffs in the referenced actions sought a stay of the

effectiveness of the judgment under Rule 60(b)(6), Fed. R. Civ. P., and Rule 8(a)(1)(A),

Fed. R. App. P. (ECF 772 & 778.) The heart of the argument in support of the motion is

as follows:

                 The Motion will request the Court exercise its authority
                 under the purposes and rules governing multi-district
                 proceedings, as well as its inherent authority over its docket,
                 to suspend or otherwise modify the judgements and orders
                 in the SPX Cases. The current appeals in the SPX Cases on
                 the NBA should be considered, along with the other cases in
                 which this issue was raised in MDL. This issue can be
                 brought to the Second Circuit if and when it is appropriate at
                 the conclusion of the MDL processes and at such time that
                 consideration of the NBA is taken as a whole. The Second
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                Circuit’s review of all orders dismissing all claims related to
                the NBA should occur once and at the same time.

(ECF 772; footnote omitted.)

                The motion for a stay under Rule 8 is denied because there are no

proceedings in the district court to be stayed. With respect to Rule 60(b)(6), Fed. R. Civ.

P., the Court has substantial doubt of its jurisdiction and authority to grant the motion

during the pendency of the appeal.

                Exercising the discretion afforded by Rule 62.1(a)(3), Fed. R. Civ. P., the

Court states that if the Court of Appeals remands the action for the purpose of addressing

the motion, this Court would grant the motion and effectuate a stay of the judgment so as

to avoid repetitive appeals of the same issue by different parties in different actions that

are part of this coordinated multi-district litigation.

        SO ORDERED.




Dated: New York, New York
       May 15, 2024




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